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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


 AMERICAN ACADEMY OF PEDIATRICS, et al.,

                               Plaintiffs,
                                                            Civ. Action No. 8:18-cv-883-PWG
                    v.

 FOOD AND DRUG ADMINISTRATION, et al.,

                               Defendants.


                  PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Plaintiffs move pursuant to Federal Rule of Civil Procedure 56 for the Court to grant

summary judgment in their favor, to vacate the challenged “Guidance for Industry,” issued by

the Food and Drug Administration (“FDA”) in August 2017, and to enter an order awarding

appropriate equitable relief. As explained in the accompanying standard of review and

memorandum, the Guidance is subject to vacatur for three independent reasons. First, the

Guidance authorizes the continued marketing of newly deemed tobacco products such as e-

cigarettes and cigars without the required FDA marketing order; it is therefore contrary to federal

law requiring FDA to conduct premarket review of all new tobacco products. See 21 U.S.C.

§ 387j; 5 U.S.C. § 706; see also U.S. Const. art. II, § 3. Second, FDA issued the Guidance

without giving the public prior notice and an opportunity to comment, in violation of the

rulemaking requirements of the Administrative Procedure Act. See 5 U.S.C. §§ 553, 706.

Finally, the Guidance is arbitrary and capricious because, among other reasons, FDA provided

no meaningful contemporaneous justification of its decision to suspend premarket review and did

not account for a major aspect of that decision—the costs to public health from unreviewed new

tobacco products continuing to be marketed, particularly to children. See id. § 706.


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Dated: July 10, 2018                      Respectfully submitted,

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